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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                    101 West Lombard Street
GEORGE L. RUSSELL, III                                                 Baltimore, Maryland 21201
 United States District Judge                                                410-962-4055

                                          June 2, 2022

MEMORANDUM TO COUNSEL RE:                           United States v. Stephen L. Snyder
                                                    Criminal Action No. GLR-20-337

Dear Counsel:

        Today the Court convened a status conference in this case. For the reasons stated on the
record, the hearing scheduled for June 15, 2022, relating to ECF Nos. 29, 52, 53, 57, and 58, is
CANCELLED. The parties should FILE a status report within ninety days of this Order indicating
the status of the appellate proceedings relating to Crim. Action No. SAG-21-556.

       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.

                                            Very truly yours,

                                                      /s/
                                            George L. Russell, III
                                            United States District Judge
